Case 1:18-cr-OOO71-SPW Document 12 Filed 06/01/18 Page 1 of 1

UNITED STATES DISTRICT COURT
DISTRICT OF MONTANA
BILLINGS DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

VS_ cR-18-71 -BLG-SPW

ANDREW DAVID PLENTYHAWK, WARRANT FOR ARREST

Defendant.
TO: UNITED STATES MARSHAL AND ANY

AUTHORIZED UNITED STATES OFFICER

 

 

YOU ARE HEREBY COMMANDED to arrest ANDREW DAVID PLENTYHAWK
and take the arrested person without urmecessary delay before the nearest federal magistrate
judge to answer the Indictment charging him with Second Degree Murder, Voluntary
Manslaughter and Crirne On An Indian Reservation in violation of Title 18 United States Code,
Sections 1111, 1112(a) and 1153(a).

Assigned to: John D. Sullivan, AUSA

I@Amw~

1th .Boades, Deputy Clerk
JA ERED BY U. S. MAGISTRATE JUDGE TIMOTHY J. CAVA
Billings, Montana

   

BAIL FIXED AT NONE
Date of Issue: 17th day of May, 2018

 

RETURN

 

DATE RECEIVED= § / 30 // 7 LocATIoN: /VC DC

EXECUTED BY ARREST OF THE ABOVE-NAMED DEFENDANT

 

 

 

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BY= C>, mm ,2 /,,,,{ Depu¢y U.s.Marshal

 

 

 

 

